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AO 245B (Rev. 09/19) | Judgment in a Criminal Case

Sheet 1
UNITED STATES DISTRICT COURT
District of Columbia [-]
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
ROMAN STERLINGOV )
) Case Number: 21-CR-399-RDM-1
USM Number: 42008-509
) Tor Ekeland
) Defendant’s Attorney
THE DEFENDANT:
CO pleaded guilty to count(s)
C pleaded nolo contendere to count(s)
which was accepted by the court.
W was found guilty on count(s) 1s-4s
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 1956(h) Money Laundering Conspiracy 4/27/2021 1s
18 U.S.C. § 1956(a)(3)(A) Money Laundering 4/27/2021 2s
18 U.S.C. §§ 1960(a) & 2 Operating an Unlicensed Money Transmitting Business and = 4/27/2021 3s
The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
C1 The defendant has been found not guilty on count(s) -
LC] Count(s) - Olis Tare dismissed on the motion of the United States.

__ Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

11/8/2024

Randolph D. Moss, United States District Judge
Name and Title of Judge

U(i3/ey¥

Date
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Sheet 1A

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DEFENDANT: ROMAN STERLINGOV ,
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ADDITIONAL COUNTS OF CONVICTION

Title & Section Nature of Offense Offense Ended Count
see above Aiding and Abetting 3s cont'd

D.C. Code § 26-1023(c) | Money Transmission Without a License 4/27/2021 4s
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Sheet 2 — Imprisonment

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DEFENDANT: ROMAN STERLINGOV

CASE NUMBER: 21-CR-399-RDM-1

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

150 months as to counts and 1s and 2s and 60 months as to counts 3s and 4s to all run concurrently.

M\ The court makes the following recommendations to the Bureau of Prisons:
The defendant be placed at DC Jail pending appeal or FC! Danbury or FCI Fort Dix.

The defendant is remanded to the custody of the United States Marshal.

(1 The defendant shall surrender to the United States Marshal for this district:
LI at Oam UO pm = on
C1 as notified by the United States Marshal.

C1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
0 before 2 p.m. on
C1 as notified by the United States Marshal.

1 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to _
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

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DEFENDANT: ROMAN STERLINGOV
CASE NUMBER: 21-CR-399-RDM-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 400.00 $ $ $ $
(1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
C1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C, § 3664(i). all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

C1 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
C] the interest requirement is waived forthe [] fine [] restitution.

CI the interest requirement forthe 1 fine 1 restitution is modified as follows:

* Amy, Vicky, and fney Child Porno raphy Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22. .

*«* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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Sheet 5A — Criminal Monetary Penalties

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DEFENDANT: ROMAN STERLINGOV
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ADDITIONAL TERMS FOR CRIMINAL MONETARY PENALTIES

The financial obligations as to Counts 1-3 for a total of $300.00 is immediately payable to the Clerk of the Court for the U.S.
District Court, 333 Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify
the Clerk of the Court of the change until such time as the financial obligation is paid in full.

The financial obligations as to Count 4 in the amount of $100.00 is immediately payable to the District of Columbia
Superior Court, Attn: Budget and Finance Office, 500 Indiana Avenue, NW, Suite 4002, Washington, DC 20001, for deposit
into the Crime Victims Compensation Fund. 4 DCC § 516 (Victims of Violent Crime Compensation Emergency Amendment

Act of 1996). Within 30 days of any change of address, you shall notify the Budget & Finance Office of DC Courts of the
change until such time as the financial obligation is paid in full.
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AO 245B (Rev. 09/19) | Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment— Page 6 of 7
DEFENDANT: ROMAN STERLINGOV
CASE NUMBER: 21-CR-399-RDM-1

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A Lump sum payment of $ 400.00 due immediately, balance due

C1 snot later than , or
inaccordance with I] C, OJ D,  E,or F below; or

B (1 Payment to begin immediately (may be combined with LIC, LD, or (CIF below); or

C (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence _ (e.g., 30 or 60 days) after the date of this judgment; or
D OU) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E (J Payment during the term of supervised release will commence within ___ g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

v=
N

Special instructions regarding the payment of criminal monetary penalties: oo _-
ounts 1-3 are immédiately payable to the Clerk of the Court for the U.S. District Court, 333 Constitution Ave NW,

Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk of the Court of the
change until such time as the financial obligation is paid in full. Count 4 is immediately payable to the District of
Columbia Superior Court, Attn: Budget and Finance Office, 500 Indiana Avenue, NW, Suite 4002, Washington, DC
20001, for deposit into the Crime Victims Compensation Fund. Within 30 days of any change of address, you shall
notify the Budget & Finance Office of DC Courts of the change until such time as the financial obligation is fully paid.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1 Joint and Several

Case Number : .
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropnate

(The defendant shall pay the cost of prosecution.
(11 ~The defendant shall pay the following court cost(s):

W The defendant shall forfeit the defendant’s interest in the following property to the United States:
Please see next page
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,

(5) fine principal, (6) fine interest, (7) community restitution, (8) A assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6A — Schedule of Payments

Judgment—Page of 7
DEFENDANT: ROMAN STERLINGOV
CASE NUMBER: 21-CR-399-RDM-1

ADDITIONAL DEFENDANTS AND CO-DEFENDANTS HELD JOINT AND SEVERAL

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate
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Sheet 6B — Schedule of Payments

Judgment—Page 7 of 7
DEFENDANT: ROMAN STERLINGOV
CASE NUMBER: 21-CR-399-RDM-1

ADDITIONAL FORFEITED PROPERTY

Pursuant to Rule 32.2(a) of the Fed. Rules of Crim Proc., you, Roman Sterlingov, shall forfeit a money judgment for a
sum of money equal to the value of any property, real or personal, involved in Counts One, Two, and Three, and any
property traceable thereto. A forfeiture money judgment in the amount of $395,563,025.39 is entered against

the defendant and in favor of the United States. You shall also forfeit the following specific property:

1. $349,625.72, seized from Kraken accounts #AA68 N84G QUXT DGMY, held in the name of Roman Sterlingov, and
HAA24N84GWW46KQS5Y, held in the name of To The Moon LTD/Roman;

2. Approximately 0.10877 Bitcoin (BTC) cryptocurrency (after required fees), seized from Kraken accounts #AA68 N84G
QUXT DGMY, held in the name of Roman Sterlingov, and #AA24N84GWW46KQ5y, held in the name of To The Moon
LTD/Roman;

3. Approximately 205.9625 Ethereum (ETH) cryptocurrency (after required fees), seized from Kraken accounts #AA68
N84G QUXT DGMY, held in the name of Roman Sterlingov, and #AA24N84GWW46KQSY, held in the name of To The
Moon LTD/Roman;

4. Approximately 9,371.52683 Stellar (XLM) cryptocurrency (after required fees), seized from Kraken accounts #AA68
N84G QUXT DGMY, held in the name of Roman Sterlingov, and #AA24N84GWW46KQ5yV, held in the name of To The
Moon LTD/Roman;

5. Approximately 35.9998 Monero (XMR) cryptocurrency (after required fees), seized from Kraken accounts fAA68
N84G QUXT DGMY, held in the name of Roman Sterlingov, and HAA24N84GWW46KQSY, held in the name of To The
Moon LTD/Roman; and

6. Approximately 1,354 BTC currently held in the Bitcoin Fog wallet, identified by root address
1YZJKaAx2HRWvcbCXDBtQbBZcRU46WJqw

The Court finds that the United States has satisfied the statutory criteria to forfeit substitute property under Title 21,
United States Code, Section 853(p). The following property is declared forfeited, pursuant to Title 21, United States
Code, Section 853(p), as substitute property:

1. Approximately 10.25623378 BTC cryptocurrency (after required fees), seized from nine Mycelium wallet accounts
located on one Samsung Galaxy S$8+ Mobile Telephone.

Upon final forfeiture of the specific property and substitute property identified in the previous paragraphs to the United
States, the net proceeds realized by the United States shall be credited to the forfeiture money judgment.
